  Case2:11-cv-00328-DF
 Case  2:11-cv-00328-DF Document
                         Document5-1
                                  6 Filed
                                     Filed01/06/12
                                           01/05/12 Page
                                                     Page1 1ofof1 1PageID
                                                                    PageID#:#:34
                                                                               33



                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION


OGMA, LLC,
                                                           CASE NO.: 2:11-cv-00328-LED
                Plaintiff,

      v.

3M COMPANY,                                                DEMAND FOR JURY TRIAL

                Defendant.


                             ORDER OF DISMISSAL WITH PREJUDICE

       CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal with

Prejudice of all claims and counterclaims asserted between Plaintiff, Ogma, LLC and

Defendant 3M Company, in this case, and the Court being of the opinion that said motion

should be GRANTED, it is hereby.

       ORDERED, ADJUDGED AND DECREED that all claims and counterclaims asserted

in this suit between Plaintiff, Ogma LLC, and Defendant, 3M Company, are hereby dismissed

.with prejudice, subject to the terms of the Settlement Agreement between them, dated October

5, 2011.

           It is further ORDERED that all attorneys’ fees and costs are to be borne by the party

that incurred them.

           SIGNED this 6th day of January, 2012.




                                                     ____________________________________
                                                     DAVID FOLSOM
                                                     UNITED STATES DISTRICT JUDGE




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